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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

CHRISTOPHER BLACK,

      Plaintiff,                                 Case No. 18-10965
                                                 Hon. Matthew F. Leitman
v.

CITY OF DETROIT, ADAM SZKLARSKI,
JACOB HEBNER, CHRISTOPHER MOREAU,
AMBER TAYLOR, PAMELA DAVIS-DRAKE
and OTHER UNNAMED OFFICERS,
in their individual and official capacities,

     Defendant.
_________________________________/

 ORDER DENYING, WITHOUT PREJUDICE, DEFENDANT’S MOTION
       FOR PARTIAL SUMMARY JUDGMENT (ECF No. 37)


      On April 20, 2020, Defendants filed a Motion for Partial Summary Judgment.

(See ECF No. 37.) On November 6, 2020, the Court held a hearing on this motion.

For the reasons stated on the record, Defendants’ Motion for Partial Summary

Judgment is DENIED without prejudice.

      IT IS SO ORDERED.

                                    s/Matthew F. Leitman
                                    MATTHEW F. LEITMAN
                                    UNITED STATES DISTRICT JUDGE

Dated: November 6, 2020.
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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on November 6, 2020, by electronic means and/or ordinary
mail.

                                     s/A. Chubb for Holly A. Monda
                                     Case Manager
                                     (810) 341-9764
